            Case: 23-1353                 Document: 51         Filed: 04/18/2023     Pages: 2



   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                Office of the Clerk
        United States Courthouse
                                                                               Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                      ORDER
April 18, 2023

By the Court:
                                     ROBERT BEVIS, et al.,
                                              Plaintiffs - Appellants
                                     v.

                                     CITY OF NAPERVILLE, a municipal corporation and JASON
No. 23-1353                          ARRES,
                                              Defendants - Appellees
                                     and

                                     STATE OF ILLINOIS,
                                               Intervening Appellee
Originating Case Information:
District Court No: 1:22-cv-04775
Northern District of Illinois, Eastern Division
District Judge Virginia M. Kendall,


         The following are before the court:

         1. MOTION FOR INJUNCTION PENDING APPEAL, filed on March 7, 2023, by
            counsel the appellants.

         2. APPENDIX TO MOTION FOR INJUNCTION PENDING APPEAL, filed on March
            7, 2023, by counsel for the appellants.

         3. INTERVENING STATE APPELEE’S OPPOSITION TO PLAINTIFFS’ MOTION
            FOR INJUNCTION PENDING APPEAL, filed on March 21, 2023, by counsel for the
            appellee State of Illinois.

         4. INTERVENING STATE APPELLEE’S SEPARATE APPENDIX TO OPPOSITION
            TO PLAINTIFFS’ MOTION FOR INJUNCTION PENDING APPEAL, VOLUME 1
            OF 2, filed on March 21, 2023, by counsel for the appellee State of Illinois.
           Case: 23-1353            Document: 51   Filed: 04/18/2023   Pages: 2

No. 23-1353                                                                       Page 2


        5. INTERVENING STATE APPELLEE’S SEPARATE APPENDIX TO OPPOSITION
           TO PLAINTIFFS’ MOTION FOR INJUNCTION PENDING APPEAL, VOLUME 2
           OF 2, filed on March 21, 2023, by counsel for the appellee State of Illinois.

        6. CITY OF NAPERVILLE AND JASON ARRES’ RESPONSE IN OPPOSITION TO
           PLAINTIFFS’ MOTION FOR INJUNCTION PENDING APPEAL, filed on March
           21, 2023, by counsel for the appellees City of Naperville and Jason Arres.

        7. PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR INJUNCTION PENDING
           APPEAL, filed on March 24, 2023, by counsel for the appellants.

        IT IS ORDERED that the motion for an injunction pending appeal is DENIED.



form name: c7_Order_BTC   (form ID: 178)
